Case 2:18-cv-08518-RGK-AFM Document 185 Filed 11/24/20 Page 1 of 2 Page ID #:4647



  1 Caitlin C. Blanche (SBN 254109)
    caitlin.blanche@klgates.com
  2 K&L Gates LLP
    1 Park Plaza, Twelfth Floor
  3 Irvine, CA 92614
    Tel: (949) 253-0900
  4 Fax: (949) 253-0902
  5 Jeffrey S. Patterson
    Christopher Centurelli
  6 Morgan T. Nickerson
    Natasha C. Pereira
  7 (Admitted pro hac vice)
    K&L Gates LLP
  8 State Street Financial Center
    One Lincoln Street
  9 Boston, MA 02111
    Tel: (617) 261-3100
 10 Fax: (617) 261-3175
 11 Attorneys for Defendants
 12                         UNITED STATES DISTRICT COURT
 13                       CENTRAL DISTRICT OF CALIFORNIA
 14
 15 COVVES, LLC,                        Case No.: 2:18-CV-08518-RGK-AFM

 16                     Plaintiff,
                                        [PROPOSED] ORDER GRANTING
                                        xxxxxxxxxxxxxx
 17 vs.                                 DEFENDANTS’ UNOPPOSED REQUEST
                                        TO EXTEND BRIEFING SCHEDULE ON
 18 DILLARD’S, INC. a Delaware          PLAINTIFF’S MOTION TO REOPEN
    Corporation;                        CASE [184]
 19 KOHL’S CORPORATION, a
    Wisconsin Corporation; SAKS &
 20 COMPANY LLC,                        Hon. R. Gary Klausner
    a Delaware Corporation;             United States District Court Judge
 21 TARGET BRANDS, INC. a               Hearing Date: December 21, 2020
    Minnesota Corporation;              Time: 9:00 a.m.
 22 EXPRESS, INC., a Delaware           Courtroom: 850, 255 E. Temple St.,
    Corporation;                        Los Angeles, CA 90012
 23 TILLY’S, INC. a Delaware
    Corporation;
 24 NORDSTROM, INC., a Washington
    Corporation;
 25 WEST MARINE, INC., a Delaware
    Corporation, and
 26 ZULILY, INC. a Delaware
    Corporation.,
 27
                     Defendant.
 28
                                                      xxxxxxxx
                                                       [PROPOSED] ORDER GRANTING DEFENDANTS’
                                                      REQUEST TO EXTEND BRIEFING SCHEDULE ON
                                                             PLAINTIFF’S MOTION TO REOPEN CASE
                                        -1-                         Case No. 2:18-cv-08518-RGK-AFM
Case 2:18-cv-08518-RGK-AFM Document 185 Filed 11/24/20 Page 2 of 2 Page ID #:4648
